      CASE 0:12-cr-00026-JRT-JSM           Doc. 1177    Filed 05/14/13     Page 1 of 3


                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                              Criminal No. 12-26 (4) (JRT/JSM)

                                  Plaintiff,
                                                         ORDER DENYING MOTION FOR
v.                                                         PERMISSION TO EXEMPT
                                                             EXHIBITS FROM THE
ANTHONY FRANCIS CREE,                                        PROTECTIVE ORDER

                               Defendant.


       Andrew R. Winter and Steven L. Schleicher, Assistant United States
       Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
       States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
       plaintiff.

       John C. Brink, JOHN C. BRINK, LAWYER, 310 Fourth Avenue South,
       Suite 1008, Minneapolis, MN 55415, for defendant.


       On March 19, 2013, after a jury trial, Defendant Anthony Francis Cree was

convicted on six counts, including a count of conspiracy to participate in the affairs of an

enterprise through a pattern of racketeering activity. Prior to this trial, on February 9,

2012, United States Magistrate Judge Janie S. Mayeron issued a protective order

mandating that (1) discovery materials produced by the United States must at all times

remain in the custody of Cree’s counsel1; (2) Cree may not make copies of such materials

or retain the materials outside of the presence of counsel; (3) at the conclusion of Cree’s

case, including the exhaustion of appeals, defense counsel must return such discovery

materials to the United States, including any copies made by counsel; and (4) discovery

materials shall be maintained by the United States for at least ten years from the date of

       1
        Discovery materials may also remain in the custody of investigators or other staff who
work with defense counsel.
23
      CASE 0:12-cr-00026-JRT-JSM          Doc. 1177     Filed 05/14/13     Page 2 of 3


the final appeal of the last of Cree’s co-defendants. (Docket No. 227.) Cree objected to

the Magistrate Judge’s order. The Court affirmed the order on April 30, 2012. (Docket

No. 588.) Cree now moves the Court for an order that materials admitted into evidence at

his trial as exhibits be exempted from the protective order, so that he may possess copies

of them personally and without counsel’s presence. The Court will deny Cree’s motion.

         Cree argues that, because the material he seeks to exempt from the protective

order was introduced as evidence at trial, it is now public and he should have unrestricted

access to it.2 However, the entry of material into evidence does not deprive this Court of

its supervisory power over this evidence. See Nixon v. Warner Commc’ns, Inc., 435 U.S.

589, 598 (1978) (“Every court has supervisory power over its own records and files, and

access has been denied where court files might have become a vehicle for improper

purposes.”). “[T]he decision as to access [to judicial records] is one best left to the sound

discretion of the trial court, a discretion to be exercised in light of the relevant facts and

circumstances of the particular case.” United States v. Webbe, 791 F.2d 103, 106 (8th Cir.

1986).

         The Court has weighed the competing interests in this case and determined that

providing Cree with copies of the evidence introduced at trial is unwarranted. There was

substantial evidence introduced at trial about the Native Mob’s retaliation against

cooperating witnesses, and the Court finds that providing Cree with copies of trial

evidence has a significant risk of putting cooperating witnesses in danger. Furthermore,

providing Cree with copies of trial evidence is unnecessary to protect his rights because,

under the current protective order, Cree has access to this evidence through his attorney.
         2
         Cree has cited to no authority holding that defendants have an unconditional right to
copies of all evidence introduced at trial.
                                            -2-
      CASE 0:12-cr-00026-JRT-JSM         Doc. 1177     Filed 05/14/13    Page 3 of 3


Cf. United States v. McDougal, 103 F.3d 651, 658 (8th Cir. 1996) (noting district court’s

consideration of potential misuse of evidence and whether substantial access to evidence

had already been afforded, when deciding whether to provide the public with further

access to evidence). Although Cree has the right to access the evidence of record, he

does not have the right to possess copies of this evidence. See Webbe, 791 F.2d at 106

(holding that public had right to access evidence introduced at trial but did not have right

to copies of such evidence). Thus, the Court will deny Cree’s motion.

       If, however, there is specific evidence that would be a hardship for Cree to review

in the presence of his attorney, Cree may petition this Court for a more specific exception

to the protective order. Such a request should identify specific pieces of evidence or

categories of evidence to which Cree requests an exception, the conditions under which

Cree seeks to access such evidence, and an explanation regarding why the current

protective order would burden Cree’s substantial rights as to those pieces or categories of

evidence.


                                         ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Anthony Cree’s Motion to Exclude Trial Exhibits from the

Protective Order [Docket No. 1120] is DENIED.


DATED: May 14, 2013                              ____s/                      ____
at Minneapolis, Minnesota.                             JOHN R. TUNHEIM
                                                    United States District Judge




                                           -3-
